             Case 1:13-cv-00256-RJA Document 72 Filed 03/26/14 Page 1 of 1

AO 450 (Rev. 5/85) Judgment in a Civil Case




                      United States District Court
                                       WESTERN DISTRICT OF NEW YORK



          Paul D. Ceglia,                               JUDGMENT IN A CIVIL CASE
                                                             CASE NUMBER: 1:13-CV-256A
                    v.

          Eric Himpton Holder, Jr.,
          as Attorney General of the United States, et al.


          9 Jury Verdict.     This action came before the Court for a trial by jury. The issues have
               been tried and the jury has rendered its verdict.

          : Decision by Court.      This action came to trial or hearing before the Court. The issues
               have been tried or heard and a decision has been rendered.

          IT IS ORDERED AND ADJUDGED that Defendants’ Motion to Dismiss pursuant to
Fed. R. Civ. P. 12(b)(6) is granted and this case is closed.



Date: March 26, 2014                                            MICHAEL J. ROEMER, CLERK


                                                        By:    s/Deborah M. Zeeb
                                                                 Deputy Clerk
